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                                                       A PROFESSIONAL LAW CORPORATION
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                                                      WOODLAND HILLS, CALIFORNIA 91367
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                                            6
                                                Attorneys for Plaintiff
                                            7   AGNES DEIRDRE MORRISEEY-BERRU
                                            8                                 UNITED STATES DISTRICT COURT
                                            9
                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                           10
                                           11
                                                AGNES DEIRDRE MORRISSEY- ) Case No.:
                                           12   BERRU, an individual,           )
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          Woodland Hills, CA 91367




                                           13                Plaintiff,         ) COMPLAINT FOR:
             21052 Oxnard Street




                                                                                )
                (818) 610-8800




                                                       vs.
JML LAW




                                           14                                   )   1. DISCRIMINATION ON THE
                                           15                                   )      BASIS OF AGE;
                                                OUR LADY OF GUADALUPE           )   2. RETALIATION IN VIOLATION
                                           16                                   )
                                                SCHOOL; a California non-profit        OF THE ADEA; and
                                           17   corporation; and DOES 1-50,     )   3. WRONGFUL TERMINATION
                                                inclusive,                      )      IN VIOLATION OF PUBLIC
                                           18
                                                                                )      POLICY.
                                           19                Defendants.        )
                                           20                                   )
                                                                                  DEMAND FOR JURY TRIAL
                                           21
                                           22
                                           23
                                           24
                                           25           Plaintiff, AGNES DEIRDRE MORRISSEY-BERRU, hereby brings her
                                           26   employment complaint against the above-named Defendants and states and alleges
                                           27   as follows:
                                           28
                                                                                             1
                                                                                         COMPLAINT
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                                            1                              JURISDICTION AND VENUE
                                            2         1.   This is an employment lawsuit, brought pursuant to 29 U.S.C. § 621 et.
                                            3   seq. to remedy violations of the Age Discrimination in Employment Act
                                            4   (“ADEA”).
                                            5         2.   This Court has original federal question jurisdiction over this action
                                            6   pursuant to 28 U.S.C. § 1331 because Plaintiff alleges violations of the laws of the
                                            7   United States of America.
                                            8         3.     The venue is appropriate since the actions giving rise to this lawsuit
                                            9   occurred in Los Angeles County, California, which is located within this district.
                                           10                                       THE PARTIES
                                           11         4.     At all times mentioned herein, Plaintiff AGNES DEIRDRE
                                           12   MORRISSEY-BERRU, age 65, was a resident of the State of California.
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                                           13         5.     At all times mentioned herein, Defendant OUR LADY OF
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                                           14   GUADALUPE SCHOOL was a California non-profit corporation that operated a
                                           15   private school, located at 340 Massey Street, Hermosa Beach, CA 90254.
                                           16         6.     The true names and capacities, whether individual, corporate,
                                           17   associate or otherwise of DOES 1 through 50 are unknown to Plaintiff who
                                           18   therefore sues these defendants under said fictitious names. Plaintiff is informed
                                           19   and believes that each of the defendants named as a Doe defendant is legally
                                           20   responsible in some manner for the events referred to in this Complaint, is either
                                           21   negligently, willfully, wantonly, recklessly, tortiously, strictly liable, statutorily
                                           22   liable or otherwise, for the injuries and damages described below to this Plaintiff.
                                           23   Plaintiff will in the future seek leave of this court to show the true names and
                                           24   capacities of these Doe defendants when it has been ascertained.
                                           25         7.     Plaintiff is informed and believes, and based thereon alleges, that each
                                           26   defendant acted in all respects pertinent to this action as the agent of the other
                                           27   defendants, carried out a joint scheme, business plan or policy in all respects
                                           28
                                                                                            2
                                                                                       COMPLAINT
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                                            1   pertinent hereto, and the acts of each defendant are legally attributable to the other
                                            2   defendants.
                                            3         8.      Hereinafter in the Complaint, unless otherwise specified, reference to
                                            4   a Defendant or Defendants shall refer to all Defendants, and each of them.
                                            5
                                                                                  ALLEGATIONS
                                            6
                                                      9.      Plaintiff commenced employment with Defendant OUR LADY OF
                                            7
                                                GUADALUPE SCHOOL as a full-time teacher in or around September 1999.
                                            8
                                                      10.     In the spring semester of 2014, Ms. Morrissey-Berru was told that she
                                            9
                                                was not implementing the new reading and writing program correctly.
                                           10
                                                      11.     In or around August 2014, Plaintiff was demoted from a full-time
                                           11
                                                teacher to a part-time teacher. In or around May 2014, Ms. Morrissey’s supervisor,
                                           12
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                                                Principal Beuder, falsely accused Plaintiff of wanting to retire and stated that
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                                                “because she wanted to retire and because she wasn’t correctly implementing the
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                                           14
                                                reading and writing program”, Plaintiff was going to be demoted to part-time.
                                           15
                                           16
                                                      12.     Plaintiff never stated she wanted to retire.

                                           17         13.     In August 2014, Principal Beuder replaced Plaintiff with a teacher

                                           18   who had no English/ Writing experience and who was much younger.
                                           19         14.     On or around August 2014, Plaintiff applied for a full-time teaching
                                           20   position at St. James Catholic School in Torrance. The principal of St. James spoke
                                           21   to Principal Beuder and then told Plaintiff that, “Ms. Beuder said good things about
                                           22   you, but she remarked that this was your last year of teaching.” Plainiff’s job
                                           23   interview with St. James Catholic School was cancelled, and she was told that they
                                           24   had hired someone else.
                                           25         15.     In May 2015, Plaintiff turned in her letter of intent to work the next
                                           26   school year. However, on May 13, 2015, Principal Beuder called Plaintiff into the
                                           27   Principal’s office and told her that she would not be asked to return due to budget
                                           28   cutbacks. Principal Beuder during this conversation again falsely accused Plaintiff
                                                                                            3
                                                                                      COMPLAINT
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                                            1   of agreeing to retire at the end of the school year. Plaintiff denied ever agreeing to
                                            2   retiring and told Principal Beuder that she needed to work. After Plaintiff left
                                            3   Principal Beuder’s office, Ms. Beuder followed her out to the playground and
                                            4   threatened to give Plaintiff a bad recommendation if she told anyone she had been
                                            5
                                                fired. Another teacher, Jack Moore, witnessed this conversation.
                                            6
                                                       16.      Plaintiff immediately filed a complaint with the Archdiocese of Los
                                            7
                                                Angeles.
                                            8
                                                       17.      One of Plaintiff’s coworkers, Ms. Bosch, told Plaintiff that in the
                                            9
                                                summer of 2014, Principal Beuder said “I know how to get rid of older people.
                                           10
                                                You cut their hours and make them so miserable they don’t want to be here.”
                                           11
                                                       18.      Plaintiff is informed and believes, and thereon alleges, that Defendant
                                           12
                                                terminated Plaintiff’s employment because of her age.
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                                                                EXHAUSTION OF ADMINISTRATIVE REMEDIES
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                                           14
                                                       19.      On June 2, 2015, Plaintiff filed charges with the Equal Employment
                                           15
                                                Opportunity Commission (“EEOC”). Plaintiff received a “Right-To-Sue” letter
                                           16
                                                from the EEOC on September 19, 2016. This Complaint is timely filed pursuant to
                                           17
                                                that letter.
                                           18
                                                                             FIRST CAUSE OF ACTION
                                           19
                                                               DISCRIMINATION ON THE BASIS OF AGE (ADEA, 29
                                           20
                                                                                  U.S.C. § 620 et seq.)
                                           21
                                                                               (Against ALL Defendants)
                                           22
                                                       20.      Plaintiff restates and incorporates herein paragraphs 1 through 19,
                                           23
                                                inclusive, of this Complaint as though fully set forth herein.
                                           24
                                                       21.      Defendant is an employer as defined in the ADEA, 29 U.S.C. § 620 et
                                           25
                                                seq.
                                           26
                                                       22.      At all relevant times, Plaintiff was an employee within the meaning
                                           27
                                                and definition of the ADEA, 29 U.S.C. §631.
                                           28
                                                                                             4
                                                                                        COMPLAINT
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                                            1             23.   As fully alleged above, at all times mentioned herein, Plaintiff was an
                                            2   experienced and qualified teacher for Defendant. At all times mentioned herein,
                                            3   Plaintiff was an exemplary employee. Despite all this, Defendant terminated
                                            4   Plaintiff’s employment and gave her position to a younger and less experienced
                                            5   teacher.
                                            6             24.   Plaintiff is informed and believes and based thereon alleges that she
                                            7   was terminated from employment with Defendant because of her age.
                                            8             25.   Plaintiff’s age is a substantial motivating factor for the discrimination
                                            9   against Plaintiff in the terms, conditions or privileges of employment.
                                           10             26.   In terminating Plaintiff’s employment, Defendant subjected Plaintiff
                                           11   to discrimination on the basis of her age in violation of the ADEA, 29 U.S.C. § 620
                                           12   et seq.
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                                           13             27.   By the aforesaid acts and omissions of Defendant, and each of them,
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                                           14   Plaintiff has been directly and legally caused to suffer actual damages including,
                                           15   but not limited to, loss of future earning capacity, attorneys’ fees, costs of suit and
                                           16   other pecuniary loss not presently ascertained.
                                           17             28.   As a direct and proximate result of Defendant’s willful, knowing and
                                           18   intentional discrimination against her, Plaintiff has further suffered and will
                                           19   continue to suffer a loss of earnings and other employment benefits and job
                                           20   opportunities. Plaintiff is therefore entitled to liquidated damages in amounts to be
                                           21   proven at trial. 29 U.S.C. § 216(b).
                                           22             29.   As a further direct and legal result of the acts and conduct of
                                           23   Defendants, and each of them, as aforesaid, Plaintiff has been caused to and did
                                           24   suffer and continues to suffer severe emotional and mental distress, anguish,
                                           25   humiliation, embarrassment, fright, shock, pain, discomfort and anxiety.
                                           26             30.   Plaintiff is informed and believes, and thereon alleges, that the
                                           27   Defendant, and each of them, by engaging in the aforementioned acts and/or in
                                           28   authorizing and/or ratifying such acts, engaged in willful, malicious, intentional
                                                                                             5
                                                                                        COMPLAINT
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                                            1   oppressive and despicable conduct, and acted with willful and conscious disregard
                                            2   of the rights, welfare and safety of Plaintiff, thereby justifying the award of
                                            3   punitive and exemplary damages in an amount to be determined at trial.
                                            4          31.   As a further, direct and proximate result of Defendant’s violations of
                                            5   The ADEA, as heretofore described, Plaintiff has been compelled to retain the
                                            6   services of counsel, and has thereby incurred, and will continue to incur, legal fees
                                            7   and costs. Plaintiff requests that attorneys’ fees be awarded pursuant to 29 U.S.C.
                                            8   § 216(b).
                                            9                            SECOND CAUSE OF ACTION
                                           10                  RETALIATION IN VIOLATION OF THE ADEA
                                           11                                (Against ALL Defendants)
                                           12          32.   Plaintiff restates and incorporates herein paragraphs 1 through 31,
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                                                inclusive, of this complaint as though fully set forth herein.
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                                           14          33.   Defendant is an employer as defined in the ADEA, 29 U.S.C. § 620 et
                                           15   seq.
                                           16          34.   At all relevant times, Plaintiff was an employee within the meaning
                                           17
                                                and definition of the ADEA, 29 U.S.C. §631.
                                           18
                                                       35.   At all times herein mentioned, the ADEA was in full force and effect
                                           19
                                                and was binding on Defendants. The ADEA prohibits retaliation against any
                                           20
                                                person based on age.
                                           21
                                                       36.   Plaintiff is informed and believes, and thereon alleges, that Defendant
                                           22
                                                terminated Plaintiff’s employment because of her age.
                                           23
                                                       37.   Defendants’ conduct as alleged above constituted unlawful retaliation.
                                           24
                                                       38.   As a proximate result of the aforesaid acts of Defendants, Plaintiff has
                                           25
                                                suffered actual, consequential and incidental financial losses, including without
                                           26
                                                limitation, loss of salary and benefits, and the intangible loss of employment
                                           27
                                           28
                                                                                           6
                                                                                      COMPLAINT
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                                            1   related opportunities in her field and damage to her professional reputation, all in
                                            2   an amount subject to proof at the time of trial.
                                            3         39.    As a proximate result of the wrongful acts of Defendants, Plaintiff has
                                            4   suffered and continues to suffer emotional distress, humiliation, mental anguish
                                            5   and embarrassment, as well as the manifestation of physical symptoms. Plaintiff is
                                            6   informed and believes and thereupon alleges that she will continue to experience
                                            7   said physical and emotional suffering for a period in the future not presently
                                            8   ascertainable, all in an amount subject to proof at the time of trial.
                                            9         40.    As a proximate result of the wrongful acts of Defendants, Plaintiff has
                                           10   been forced to hire attorneys to prosecute her claims herein, and has incurred and is
                                           11   expected to continue to incur attorneys’ fees and costs in connection therewith.
                                           12   Plaintiff is entitled to recover attorneys’ fees and costs under 29 U.S.C. § 216(b).
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                                                                           THIRD CAUSE OF ACTION
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                                           14      WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
                                           15                                (Against ALL Defendants)
                                           16         41.    Plaintiff realleges and incorporates herein paragraphs 1 through 40,
                                           17   inclusive, of this Complaint as though fully set forth.
                                           18         42.    At all times mentioned, the public policy of the State of California, as
                                           19   codified, expressed and mandated in California Government Code § 12940 et seq.,
                                           20   is to prohibit employers from discriminating, harassing and retaliating against any
                                           21   individual engaging in a protected activity. This public policy of the State of
                                           22   California is designed to protect all employees and to promote the welfare and
                                           23   wellbeing of the community at large.
                                           24         43.    Accordingly, the actions of Defendant, as described herein, were
                                           25   wrongful and in contravention of the express public policy of the State of
                                           26   California, to wit, the policy set forth in California and the laws and regulations
                                           27   promulgated thereunder.
                                           28
                                                                                           7
                                                                                      COMPLAINT
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                                            1         44.    As a proximate result of the aforesaid acts of Defendant, Plaintiff has
                                            2   suffered actual, consequential and incidental financial losses, including without
                                            3   limitation, loss of salary and benefits, and the intangible loss of employment
                                            4   related opportunities in her field and damage to his professional reputation, all in
                                            5   an amount subject to proof at the time of trial. Plaintiff claims such amounts as
                                            6   damages pursuant to California Civil Code § 3287 and/or § 3288 and/or any other
                                            7   provision of law providing for prejudgment interest.
                                            8         45.    As a proximate result of the wrongful acts of Defendants, Plaintiff has
                                            9   suffered and continues to suffer emotional distress, humiliation, mental anguish
                                           10   and embarrassment, as well as the manifestation of physical symptoms. Plaintiff is
                                           11   informed and believes, and thereupon alleges, that she will continue to experience
                                           12   said physical and emotional suffering for a period in the future not presently
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                                           13   ascertainable, all in an amount subject to proof at the time of trial.
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                                           14         46.     Defendant had in place policies and procedures that specifically
                                           15   required Defendant’s managers, officers, and agents to prevent the termination of
                                           16   its employees based on the protected classes identified in the EEOC and ADEA.
                                           17   Plaintiff relied on the fact that Defendant would follow these known policies, yet
                                           18   Defendant consciously chose not to follow said policies. Therefore, Defendant’s
                                           19   conduct was fraudulent, malicious, oppressive, and was done in wanton disregard
                                           20   for the rights of Plaintiff and the rights and duties owed by each Defendant to
                                           21   Plaintiff. Each Defendant aided, abetted, participated in, authorized, ratified,
                                           22   and/or conspired to engage in the wrongful conduct alleged above. Plaintiff
                                           23   should, therefore, be awarded exemplary and punitive damages against each
                                           24   Defendant in an amount to be established that is appropriate to punish each
                                           25   Defendant and deter others from engaging in such conduct.
                                           26
                                           27         WHEREFORE, Plaintiff prays for judgment as follows:
                                           28         1.     For general damages, according to proof;
                                                                                           8
                                                                                      COMPLAINT
                                  Case 2:16-cv-09353-SVW-AFM Document 1 Filed 12/19/16 Page 9 of 9 Page ID #:9




                                            1       2.   For medical expenses and related items of expenses, according to
                                            2            proof;
                                            3       3.   For loss of earnings, according to proof;
                                            4       4.   For attorneys’ fees, according to proof;
                                            5       5.   For prejudgment interest, according to proof;
                                            6       6.   For costs of suit incurred herein; and
                                            7       7.   For such other relief and the Court may deem just and proper.
                                            8
                                            9                        DEMAND FOR JURY TRIAL
                                           10            Plaintiff hereby demands a trial by jury.
                                           11
                                           12   DATED:   December 19, 2016       JML LAW, A Professional Law Corporation
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                                           14
                                           15                                    By:       __________________________
                                           16
                                           17                                              JOSEPH M. LOVRETOVICH
                                           18                                              JARED W. BEILKE
                                           19                                              Attorneys for Plaintiff
                                           20
                                           21
                                           22
                                           23
                                           24
                                           25
                                           26
                                           27
                                           28
                                                                                       9
                                                                                 COMPLAINT
